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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


   Criminal Case No.12-cr-00033-JLK


   UNITED STATES OF AMERICA,
        Plaintiff,
   v.


   1.      JAMSHID MUHTOROV,

           Defendant.



         MR. MUHTOROV’S MOTION FOR EVIDENTIARY HEARING AND FOR
         COURT ORDER REQUIRING THE UNITED STATES MARSHALS AND
        COURT SECURITY OFFICERS TO RELEASE ALL REPORTS AND VIDEO
            SURVEILLANCE REGARDING THE JUNE 14, 2018 INCIDENT


    “In essence, the right to jury trial guarantees to the criminally accused a fair trial
    by a panel of impartial, ‘indifferent’ jurors. The failure to accord an accused a fair
    hearing violates even the minimal standards of due process.” Irvin v. Dowd, 366
                     U.S. 717, 81 S.Ct. 1639, 6 L.Ed.2d 751 (1961).


           Mr. Muhtorov, through undersigned counsel, respectfully requests the

   court hold an evidentiary hearing beginning on Monday, June 18, 2018 at 8:00

   a.m. Based on multiple interviews conducted by counsel on June 15, 2018, there

   is a strong likelihood a mistrial is warranted following the situation that occurred

   with many jurors on June 14, 2018. The reactions by the jurors to the June 14,

   2018 situation reflects their feelings of insecurity and suggests a strong chance

   the jurors involved cannot be fair for reasons unrelated to the evidence in the

   case. The jurors’ reaction also demonstrates an inherent bias against Mr.
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   Muhtorov and the inability of the jurors to fairly evaluate the evidence. At a

   minimum the situation reflects or contributes to prejudice against Mr. Muhtorov

   that prevents him from receiving impartial consideration of his case from the

   jurors involved. Mr. Muhtorov believes that once the record is developed fully

   about what happened, it will be apparent that this problem cannot by cured by an

   instruction to the jury along the lines of that proposed by the Court.

          For these reasons, Mr. Muhtorov requests the evidentiary hearing so the

   facts surrounding the episode or incident that occurred June 14, 2018 are part of

   the record.

          Mr. Muhtorov requests the following witnesses testify at the hearing:

   Court Security Officers Jennifer Albertson and Chris Martinez; Deputy United

   States Marshals Blue Jones, Jason Brackett, Joe Braaten, Erik Helsing and

   McGovern; Ruthann Kallenberg and Nargiza Muhtorova; and the individual jurors

   who were involved. Counsel for Mr. Muhtorov will have as many of the above

   witnesses prepared to testify as possible. Based on interviews conducted by

   defense counsel, it seems jurors 76, 388, and 408 were involved as well as at

   least 2 other female jurors – perhaps an additional 4 jurors. (There was a phone

   message left for Ms. Abiakam regarding the incident from one juror who

   described the jurors as “all freaking out.” This juror identified himself/herself by

   number in the message although that was redacted from counsel’s copy).

          In speaking with several of the above witnesses, counsel understands

   reports were generated by the marhsals service and perhaps, court security

   officers, following the incident. It also appears there may be video surveillance




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   that will show 1) which jurors were involved; 2) the deputy marshals leaving the

   building who approached Ms. Muhtorova; and 3) possibly Ms. Muhtorova

   standing across the street from the courthouse. Supervisory Assistant United

   States Marshal Melissa Duffey inquired of general counsel about providing

   counsel with the reports and surveillance and was advised she could not do so

   without a Court Order.

          As noted above, Mr. Muhtorov does not believe the Court’s proposed Jury

   Advisement – provided to counsel on June 15, 2018 – can cure the problems

   created by this unfortunate incident. Nor can it erase the underlying issues –

   including juror apprehensiveness – that gave rise to this reaction. This will be

   more clear once the full picture of what occurred, and the juror’s reactions, are

   developed at the hearing.

          WHEREFORE, Mr. Muhtorov requests this court (1) Conduct an

   evidentiary hearing to begin on Monday, June 18, 2018 at 8:00 a.m.; and (2)

   Order the United States Marshals and Court Security to provide any and all

   reports and video surveillance regarding the June 14, 2018 incident.



                               Respectfully submitted this 15th day of June, 2018,


                                             s/Kathryn J. Stimson

                                             ___________________________
                                             Kathryn J. Stimson
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                              CERTIFICATE OF SERVICE


          I hereby certify that on June 15, 2018 , I electronically filed the foregoing
   with the Clerk of Court using the CM/ECF system which will send notification of
   such filing to the following e-mail addresses:

   Beth.Gibson@usdoj.gov
   Joshua.Bitton@ic.fbi.gov
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   and I hereby certify that I have mailed or served the document or paper to the
   following non CM/ECF participant in the manner (mail, hand-delivery, etc.)
   indicated by the non-participant’s name: Jamshid Muhtorov


                                              /s/ Kathryn J. Stimson______________
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